          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      CHARLOTTE DIVISION

                     CRIMINAL CASE NO. 3:07cr211


UNITED STATES OF AMERICA, )
                          )
                          )
              vs.         )                    ORDER
                          )
                          )
VICTORIA L. SPROUSE.      )
                          )



     THIS MATTER is before the Court on the parties’ Joint Request for

Forfeiture Hearing Date [Doc. 297].

     In the motion, the Government advises that it would take less than an

hour to present its position regarding forfeiture. Defense counsel also

states he would take around one hour for argument but seeks leave to file

additional briefing. The Defendant would prefer the forfeiture matter be

resolved during the sentencing hearing while the Government “believes

that a hearing date as soon as practicable” is preferable.

     The Court finds that the forfeiture matter should be resolved during

the sentencing hearing. Indeed, this was the resolution originally

suggested by the Court. Limited additional briefing will be allowed.



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     IT IS, THEREFORE, ORDERED that the parties’ Joint Request for

Forfeiture Hearing Date [Doc. 297] is hereby GRANTED and the forfeiture

hearing shall be conducted during the sentencing hearing.

     IT IS FURTHER ORDERED that the parties may, but are not

required to, submit additional briefing not to exceed ten pages no later than

two weeks prior to the sentencing date.

                                      Signed: January 14, 2010




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